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                               UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF PENNSYLVANIA


 CINDY PAGE, Individually and on Behalf
                                                      Case No.
 of All Others Similarly Situated,

                                Plaintiff,
                                                      CLASS ACTION COMPLAINT
                        v.
                                                      JURY TRIAL DEMANDED
 RITE AID CORPORATION, HEYWARD
 DONIGAN, MATT SCHROEDER, and
 CHRIS DUPAUL,

                                Defendants.


       Plaintiff Cindy Page (“Plaintiff”), individually and on behalf of all others similarly situated,

by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against Defendants, alleges the

following based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and information

and belief as to all other matters, based upon, inter alia, the investigation conducted by and through

Plaintiff’s attorneys, which included, among other things, a review of the Defendants’ public

documents, conference calls and announcements made by Defendants, United States (“U.S.”)

Securities and Exchange Commission (“SEC”) filings, wire and press releases published by and

regarding Rite Aid Corporation (“Rite Aid” or the “Company”), analysts’ reports and advisories

about the Company, and information readily obtainable on the Internet. Plaintiff believes that

substantial, additional evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of a class consisting of all persons

and entities other than Defendants that purchased or otherwise acquired Rite Aid securities



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between April 14, 2022 and September 28, 2022, both dates inclusive (the “Class Period”), seeking

to recover damages caused by Defendants’ violations of the federal securities laws and to pursue

remedies under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”) and Rule 10b-5 promulgated thereunder, against the Company and certain of its top officials.

       2.      Rite Aid, through its subsidiaries, operates a chain of retail drugstores in the U.S.

The Company operates through two segments, Retail Pharmacy and Pharmacy Services. The

Pharmacy Services segment provides integrated suite of pharmacy benefit management (“PBM”)

offerings through, inter alia, the Company’s Elixir subsidiary, including technology solutions,

mail delivery services, specialty pharmacy, network and rebate administration, claims

adjudication, and pharmacy discount programs.

       3.      In Rite Aid’s Q4 2022 earnings call on April 14, 2022, Rite Aid’s President and

CEO, Defendant Heyward Rutledge Donigan (“Donigan”), addressed the growth of Elixir’s PBM

services business during the selling season ending January 1, 2023, stating that (i) in the past few

months, Elixir had already “sold 35,000 new members” (as against a total of 55,000 new members

in the prior year), (ii) Elixir was a finalist for 150,000 additional new members, and “results have

shown that once we get to finalist, we’re winning deals 35% of the time,” and (iii) Elixir had “a

current pipeline of nearly 1 million members and growing.”

       4.      In a letter to shareholders, dated June 10, 2022, appearing in Rite Aid’s 2022 Notice

of Annual Meeting of Stockholders and Proxy Statement, Defendant Donigan stated, “[o]ur Elixir

account and sales teams are gaining momentum, and we are executing more efficiently by

consolidating functions. And the market is noticing—we have added 34,000 individuals covered

by Elixir’s PBM services since January 1, 2022, with many more in the pipeline.”




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        5.      In Rite Aid’s Q1 2023 earnings call on June 23, 2022, Defendant Donigan stated

concerning the PBM services business that “[o]ur strong network contracts, new rebate

capabilities, innovative clinical services and expertise in government programs have enabled us to

add 80,000 new lives for January 1, 2023 start date. These are more new lives than we sold last

year. And additionally, the selling season is still in progress, and we've got close to 1 million lives

remaining in the pipeline for January 1, 2023.” On the same call, Elixir’s COO, Defendant Chris

DuPaul (“DuPaul”), advised that “we’ve had a pretty strong start to our selling season, particularly

on the health plan side,” and “we’re feeling really good about where our lives are headed going

into [1/1/23]. . .”

        6.      Throughout the Class Period, Defendants made materially false and misleading

statements regarding the Company’s business, operations, and prospects. Specifically, Defendants

made false and/or misleading statements and/or failed to disclose that: (i) despite representations

to the contrary, the number of new members (i.e., “lives”) that the Elixir PBM services business

was adding during the selling season ending on January 1, 2023 was in material decline; (ii) Rite

Aid was likely to recognize a significant charge for the impairment of goodwill related to Elixir

due to a decrease in “lives” covered by Elixir’s PBM services business; and (iii) as a result, the

Company’s public statements were materially false and misleading at all relevant times.

        7.      On September 29, 2022, Rite Aid announced a $252.2 million charge for the

impairment of goodwill related to the Company’s Elixir subsidiary. On an earnings call held later

in the day, Rite Aid’s Chief Financial Officer (“CFO”), Matt Schroeder (“Schroeder”), explained

that the large impairment charge was related to Elixir based on “an update to our estimate of lives

for 2023 based on the latest selling season,” and that Rite Aid “expected[ed] lives to go down.”




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       8.      On this news, Rite Aid’s stock price fell $1.97 per share, or 28.02%, to close at

$5.06 per share on September 29, 2022.

       9.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       10.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       11.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act.

       12.     Venue is proper in this Judicial District pursuant to Section 27 of the Exchange Act

(15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Rite Aid is headquartered in this Judicial District,

Defendants conduct business in this Judicial District, and a significant portion of Defendants’

actions took place within this Judicial District.

       13.     In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.

                                             PARTIES

       14.     Plaintiff, as set forth in the attached Certification, acquired Rite Aid securities at

artificially inflated prices during the Class Period and was damaged upon the revelation of the

alleged corrective disclosures.



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       15.     Defendant Rite Aid is a Delaware corporation with principal executive offices

located at 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112. Rite Aid’s

common stock trades in an efficient market on the New York Stock Exchange (“NYSE”) under

the trading symbol “RAD”.

       16.     Defendant Heyward Donigan (“Donigan”) has served as Rite Aid’s President and

Chief Executive Officer (“CEO”) at all relevant times.

       17.     Defendant Schroeder has served as Rite Aid’s Executive Vice President and Chief

Financial Officer (“CFO”) at all relevant times.

       18.     Defendant Chris DuPaul (“DuPaul”) has served as Elixir’s Chief Operating Officer

(“COO”) at all relevant times.

       19.     Defendants Donigan, Schroeder, and DuPaul are sometimes referred to herein as

the “Individual Defendants.”

       20.     The Individual Defendants possessed the power and authority to control the

contents of Rite Aid’s SEC filings, press releases, and other market communications. The

Individual Defendants were provided with copies of Rite Aid’s SEC filings and press releases

alleged herein to be misleading prior to or shortly after their issuance and had the ability and

opportunity to prevent their issuance or to cause them to be corrected. Because of their positions

with Rite Aid, and their access to material information available to them but not to the public, the

Individual Defendants knew that the adverse facts specified herein had not been disclosed to and

were being concealed from the public, and that the positive representations being made were then

materially false and misleading. The Individual Defendants are liable for the false statements and

omissions pleaded herein.




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       21.      Rite Aid and the Individual Defendants are collectively referred to herein as

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

                                           Background

       22.      Rite Aid, through its subsidiaries, operates a chain of retail drugstores in the U.S.

The Company operates through two segments—Retail Pharmacy and Pharmacy Services. The

Pharmacy Services segment provides integrated suite of PBM offerings through the Company’s

Elixir subsidiary, including technology solutions, mail delivery services, specialty pharmacy,

network and rebate administration, claims adjudication, and pharmacy discount programs.

        Materially False and Misleading Statements Issued During the Class Period

       23.      The Class Period begins on April 14, 2022, when Rite Aid hosted a conference call

with investors and analysts to discuss the Company’s Q4 and full year 2022 financial results and

full year 2023 outlook (the “2022 Earnings Call”). During the scripted portion of the 2022

Earnings Call, Defendant Donigan stated, in relevant part:

       [W]e will grow Elixir. We are on target to sell 300,000 new members for 1/1/2023.

       So as you know, the first step to achieving net growth is retaining the business we
       already have. After accounting for previously known losses due to health plan
       consolidation, we’re on track to retain 95% of our business for the 2023 selling
       season and I’m excited to share that we recently renewed in a very competitive
       situation, our largest Medicare Advantage client with a three year contract.

       So the next step is to win new business and to do that we have to first be competitive
       on price. That’s the price of entry. We’re doing that through strong network pricing
       and our new rebate aggregator.

       Now we’re getting to the finalist position on a regular basis where we are presenting
       a unique and compelling value proposition. Our results have shown that once we
       get to finalist we are winning deals 35% of the time.

       Well we are very early in the selling season, better pricing with a newly restructured
       sales team and a focus on our target market segments has led us to sell 35,000 new

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       members already. We have 150,000 lives in the current finalist stage for 1/1/23,
       and a current pipeline of nearly 1 million members and growing.

       24.     Further, during the Q&A portion of the 2022 Earnings Call, in response to an

analyst question regarding “what are the expectations for . . . calendar 2023, fiscal ‘24 of th[e

PBM] selling season opening up at the end of this year”, Defendant Donigan responded:

       Well, as I said, we are very early in the 2023 season for employer business, and we
       are in the 2024 season for health plan business. So health plans have a longer lead
       time for implementation. So just in the past few months, we’ve sold 35,000 new
       members, and have barely gotten started. And that’s against a total of 55,000 new
       members the prior year. Our pipeline is almost $1 million -- I am sorry 1 million
       members right now and that is growing on a weekly basis. We’re in the finals for
       150,000 additional members right now as we speak. And as I mentioned earlier,
       we’re closing 35% of the business when we’re in the final position. And the sales
       season really doesn’t really start to heat up until around July, August timeframe and
       then employers make decisions generally as late into the November timeframe. The
       health plan cycle is just getting started. That pipeline will grow during 2023 and
       that business will largely go -- not all, but largely go into effect in ‘24. So early
       days, but I think very compelling and exciting stats so far.

       25.     On April 25, 2022, Rite Aid filed an Annual Report on Form 10-K with the SEC,

reporting the Company’s financial and operating results for the year ended February 26, 2022 (the

“2021 10-K”). In providing an overview of the Company, the 2021 10-K stated, in relevant part:

                Pharmacy Services Segment—Elixir, our mid-market national pharmacy
       benefits manager (“PBM”), provides a suite of PBM offerings including technology
       solutions, mail delivery services, specialty pharmacy, network and rebate
       administration, claims adjudication and pharmacy discount programs. Elixir also
       provides prescription discount programs and Medicare Part D insurance offerings
       for individuals and groups. Elixir provides services to various clients across its
       different lines of business, including major health plans, commercial employers,
       labor groups and state and local governments, representing over 2 million covered
       lives, including approximately 0.7 million covered lives through our Medicare Part
       D insurance offerings. Elixir continues to focus its efforts and offerings to its target
       market of small to mid-market employers, labor unions and regional health plans,
       including provider-led health plans and government sponsored Medicaid and
       Medicare plans.

              Elixir is an integral component of our strategy and we believe that Elixir
       will become a differentiated market leader by lowering total healthcare costs
       through consumer engagement. We are modernizing our technology platforms,

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        enhancing our clinical programs, and launching our new specialty offering across
        our book of business. For our markets that overlap with Rite Aid and Bartell stores,
        we can provide highly curated clinical offerings that not only lowers costs, but also
        engage members in our stores with our pharmacists.

        26.    Further, in discussing the Company’s strategy, the 2021 10-K stated, in relevant

part:

                [W]e believe Elixir has become well-positioned to be a growth driver in the
        coming years. We have improved our pricing positioning through strong network
        contracts and our new rebate aggregator. The new pricing positioning is enabling
        us to deliver a unique and compelling value proposition. Our Elixir Savings cash
        discount business continues to grow in both EBITDA and revenue. We have
        identified meaningful EBITDA opportunity by improving our contracts, gaining
        access to more limited distribution drugs and growing volume from PBM clients
        and other parties.

        27.    Appended to the 2021 10-K as an exhibit was a signed certification pursuant to the

Sarbanes-Oxley Act of 2022 by Defendants Donigan and Schroeder, attesting that “[t]he

information contained in the [2021 10-K] fairly presents, in all material respects, the financial

condition and results of operations of the Company.”

        28.    On May 12, 2022, Schroeder and Byron Purcell (Vice President, Investor Relations

and Treasurer) gave a slide presentation to the National Group Management Trade Relations

Committee. Slide 13 stated that “Elixir has improved its ability to bid competitively resulting in

new business wins and positive feedback from pharmacy consultants.” Under a headline reading

“2023 Selling Season – Early Results,” the slide represented the Elixir had signed up 35,000 new

lives, was in the finalist stage for an additional 150,000 lives, and had a “pipeline of 1 [million]

lives and growing.”

        29.    On June 10, 2022, Rite Aid filed a definitive proxy statement on Form DEFC14A

with the SEC in connection with the Company’s 2022 annual meeting of stockholders (the “June




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10, 2022 Proxy Statement”). In a letter to shareholders contained in that filing, Defendant Donigan

stated, in relevant part:

        Our Elixir account and sales teams are gaining momentum, and we are executing
        more efficiently by consolidating functions. And the market is noticing—we have
        added 34,000 individuals covered by Elixir’s PBM services since January 1, 2022,
        with many more in the pipeline. And we just won the renewal of our largest health
        plan client in a very competitive bidding process.

        30.     Further, in discussing the Company’s business strategy and performance in fiscal

year 2022, the June 10, 2022 Proxy Statement stated, in relevant part, “Rite Aid’s RxEvolution

strategy was originally announced in March 2020, with a focus on fundamentally changing our

role in health care and becoming the industry leader in whole health through three main pillars: 1)

Unlocking the value of our pharmacists; 2) Renewing our retail and digital experience; and 3)

Establishing Elixir as a clearly differentiated market leader.” (Emphasis added.)

        31.     In addition, in discuss the Company’s leadership team growth and strategy

execution, the June 10, 2022 Proxy Statement stated, in relevant part:

        At Elixir, our full-service PBM, we entered into an agreement with Prime
        Therapeutics to drive improved rebate economics for our customers, which is an
        important step in enhancing Elixir’s competitive position in the marketplace. Elixir
        has been purposely built and owns all the assets needed to optimize the full
        pharmacy care experience, including:
            An industry leading adjudication platform, offering flexibility, efficiency
               and data privacy protection;
            Accredited mail and specialty pharmacies, creating an exceptional member
               experience, waste reduction and cost savings; and
            Prescription discount programs for uninsured and under-insured and
               Medicare Part D plans for individuals, associations and groups.

        Elixir’s accreditation demonstrates that it is delivering excellent quality results for
        our customers. Elixir has received a specialty pharmacy certification from
        Accreditation Commission for Health Care (ACHC) and accreditation for digital
        pharmacy by National Association of Boards of Pharmacy (NABP). Elixir was one
        of only two PBMs to earn all four core PBM accreditations by the Utilization
        Review Accreditation Commission (URAC): Pharmacy Benefit Management,
        Drug Therapy Management, Specialty Pharmacy and Mail Service and one of only
        three PBMs to hold the Health Information Products Certification for Pharmacy

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       Benefit Information and Utilization Management from National Committee for
       Quality Assurance (NCQA). Elixir has also shown strong results in medical cost
       avoidance by driving improved medication adherence. Our Specialty Pharmacy’s
       net promotor score is 82, which is eight points higher than the national average.
       Finally, strong growth at our Elixir Savings showcases the continued need of cash
       card businesses to grow using our state of the art platform and analytics.

       32.     Finally, in discussing the Company’s 2022 fiscal year key business highlights, the

June 10, 2022 Proxy Statement stated, in relevant part:

       In fiscal year 2022, Rite Aid continued to position the Company for future growth,
       particularly as we moved to a post-COVID environment. The company’s strategy
       continued to evolve as we concentrated on the progression at Elixir, unlocking the
       value of our pharmacists, and the renewal of our retail and digital experience.
       Thanks to the hard work and dedication of our retail pharmacists, the Company was
       able to handle the increased volumes attributed to COVID-19 vaccines and testing.
       Our pharmacists administered 3.6 million COVID-19 tests and 14.4 million
       COVID-19 vaccines as part of their dedication to the communities we serve. In
       addition, Elixir announced an agreement with a new national rebate aggregation
       partner to drive improved value and formalized their go-to-market strategy for the
       2023 calendar selling season. The combination of these initiatives has given Elixir
       34,000 early win lives and a finalist rate up 14% over last year. “Lives” refers to
       the number of people covered by Elixir’s pharmacy benefit management. Elixir has
       also shown strong results in medical cost avoidance by driving improved
       medication adherence. Our Specialty Pharmacy’s net promotor score is 82, which
       is eight points higher than the national average. Finally, strong growth at our Elixir
       Savings showcases the continued need of cash card businesses to grow using our
       state of the art platform and analytics.

       33.     On June 23, 2022, Rite Aid issued a press release announcing the Company’s Q1

fiscal 2023 results. The press release stated, in relevant part:

       “We continue to make strides on our journey to transform Rite Aid and define the
       modern pharmacy. In the first quarter we increased our non-COVID prescriptions,
       reduced SG&A, built momentum at Elixir and delivered solid results across the
       business. The entire Rite Aid team looks forward to advancing our pharmacists’
       role in improving health outcomes,” said Heyward Donigan, president and CEO.

       34.     That same day, Rite Aid hosted a conference call with investors and analysts to

discuss the Company’s first quarter 2023 financial results (the “Q1 2023 Earnings Call”). During

the scripted portion of the Q1 2023 Earnings Call, Defendant Donigan stated, inter alia:



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       [With respect to] the PBM services business[,] [o]ur strong network contracts, new
       rebate capabilities, innovative clinical services and expertise in government
       programs have enabled us to add 80,000 new lives for January 1, 2023 start date.
       These are more new lives than we sold last year. And additionally, the selling
       season is still in progress, and we’ve got close to 1 million lives remaining in the
       pipeline for January 1, 2023.

       35.     During the Q&A portion of the Q1 2023 Earnings Call, Defendant DuPaul had the

following exchange with an analyst regarding Elixir:

       [Analyst]

       [Y]ou mentioned the 80,000 additional lives for Elixir that you’ve attained, and
       there’s still 1 million potentially that you’re going to be getting? I guess, what’s
       your degree of confidence in that additional potential million. What percent might
       be reasonable that you would attain of those? And then if there has been anything
       else in terms of losses of lives, I’m trying to think about next 2023, that calendar
       year, how Elixir is shaking out.

                                                ***

       [Defendant] DuPaul

       Thank you for the question. Just to clarify a bit, taking you down through the
       numbers. The 1 million lives that Heyward referenced are the lives that we still
       have active in our pipeline inside of our target markets. So those are -- that’s a
       business that is up for bid right now for [1/1/23]. So out of that 1 million, we expect
       to win a portion of those. Where we are right now in terms of our new life count
       for next year, I think in our last earnings call, we’ve talked about -- we’ve set a goal
       to try and win 300,000 new live

       At the time, we’ve had a pretty strong start to our selling season, particularly on
       the health plan side. As we’ve moved into more of the commercial book, that
       slowed a bit. As we’ve seen more clients sticking with incumbents. That said, we
       are still expecting to have the strongest selling season that we’ve had in several
       years at Elixir. And so we feel really good about where our life count is headed.
       Our retention rate is still expected to come in right around 95%. And we did retain
       our largest client, MCS, earlier in the year. So we’re feeling really good about
       where our lives are headed going into [1/1/23], and that’s sort of how we get there.

       36.     On June 30, 2022, Rite Aid issued a press release entitled, “Elixir Launches

Specialty Generic Enhancement that Leads to Thousands in Annual Savings for Plan Sponsors and

Members.” The press release stated, in relevant part:

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       Elixir [. . .] announced the launch of a specialty generic medication enhancement
       to its managed copay solutions effective June 1, 2022. The enhancement allows
       members to receive generic versions of certain specialty medications at a $0 copay
       and has the potential to provide an average savings of up to $40,000 annually.

       “As specialty drug costs continue to climb and account for a significant amount of
       drug spend, Elixir is continually looking for innovative solutions for our clients,”
       said Marly Arbuckle, RPh, CSP, senior director, specialty solutions and strategy
       for Elixir. “With this specialty generic program, Elixir members will have access
       to an expanded list of FDA-approved specialty generic medications at no cost to
       them, while enhancing our ability to drive optimum savings for the plan.”

       Arbuckle explained that Elixir created a list of specialty generic drugs that are
       eligible to receive a $0 copay that is continually updated. When determining what
       generic drugs to include on the list, all financial aspects are considered, factoring
       in such things as rebates and discounts, ensuring the drugs on the list are the most
       cost-effective option.

       This enhancement is being added to Elixir’s existing managed copay solutions,
       which tracks copay assistance from manufacturers that is applied to specialty
       prescriptions, giving members the benefit of assistance to afford branded specialty
       medications and ensuring clients do not begin bearing the majority of the
       medication cost before the deductible is actually achieved. In 2021, this program
       delivered over $25 million in savings.[]

       “Many people aren’t aware that there are specialty generic drugs available,
       especially with all of the television ads for the brand versions. Additionally, copay
       assistance available for most branded specialty drug products often disincentives
       members from selecting lower-costing generic options on their own. However,
       utilization of specialty generics can save plan sponsors up to 30% per claim,”
       Arbuckle said. “Our specialty generic solution allows both the plan and member to
       save on drug costs, while still receiving the benefit of the potentially life-saving
       drug. Additionally, these cost savings help to increase member adherence to
       specialty medications, which can limit expenses from healthcare complications.”

       37.    At Rite Aid’s Annual Stockholders Meeting on July 27, 2022, Defendant Donigan

stated concerning FY 2022:

       Our momentum has continued into the first quarter of fiscal year 2023. As the
       financial benefit from COVID vaccines did normalize, I'm pleased with our
       progress in returning the business to overall a portfolio growth company and instead
       of the primary sort of COVID environment that we've been dealing with over the
       last two years. In quarter one, we had non COVID acute prescription growth of
       11.9% and we achieved revenues of $6 billion and adjusted EBITDA of $100.1
       million. We also reduced retail SGNA expenses by $40 million. We closed 87

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         unprofitable stores ahead of schedule and sold 80,000 new lives at Elixir for
         01/01/2023, which is above all of last year's selling season with much of this
         year's season still to go. This is just a summary of some of our accomplishments,
         but now I'd like to talk about our current strategy and our plans to grow.

         38.    The statements referenced in ¶¶ 23-37 were materially false and misleading because

Defendants made false and/or misleading statements, as well as failed to disclose material adverse

facts about the Company’s business, operations, and compliance policies.                  Specifically,

Defendants made false and/or misleading statements and/or failed to disclose that: (i) despite

representations to the contrary the number of new members (i.e., “lives”) that the Elixir PBM

services business was adding during the selling season ending on January 1, 2023 was in material

decline; (ii) Rite Aid was likely to recognize a significant charge for the impairment of goodwill

related to Elixir due to a decrease in “lives” covered by Elixir’s PBM services business; and (iii)

as a result, the Company’s public statements were materially false and misleading at all relevant

times.

                                         The Truth Emerges

         39.    On September 29, 2022, Rite Aid announced its financial results for the second

quarter of 2023, including, among other items, a $252.2 million charge for the impairment of

goodwill related to the Company’s Elixir subsidiary. On an earnings call held later in the day,

Defendant Schroeder explained that the large impairment charge was triggered by an update in

Rite Aid’s estimate of lives covered by Elixir for 2023 based on the latest selling season.

Specifically, Defendant Schroeder stated, in relevant part:

         Second quarter net loss was $331.3 million or $6.07 per share compared to last
         year’s second quarter net loss of $100.3 million or $1.86 per share. The increase in
         net loss in the current quarter is due primarily to a charge of $252.2 million or $4.62
         per share for the impairment of goodwill related to Elixir. Net loss was also
         impacted by higher facility exit and impairment charges driven by the company’s
         previously announced store closures. These items were partially offset by a gain on



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       sale leasebacks of two of our distribution centers and certain stores and a gain on
       debt retirement resulting from the bond tender offer that we completed this quarter.

       A few words on the impairment charge at Elixir. We’ve begun the process of
       developing the operating budget for fiscal 2024. While we are at the beginning of
       this process and have several months of work ahead of us, there are certain factors
       that we’ve noted that caused a triggering event for the assessment of goodwill
       impairment under generally accepted accounting principles. These factors include
       an update to our estimate of lives for 2023 based on the latest selling season, the
       Elixir Insurance bid results, and other business factors. The impairment was
       recorded based upon an update of our valuation related to fiscal 2024 and future
       years. As I said, we have much work to do to build out our detailed plan for fiscal
       2024 and are not prepared to give any additional color on the fiscal 2024 outlook
       at this time.

                                              ***

       I think from a pure number standpoint . . . the best I can probably comment on for
       fiscal 2024, and then we got a lot more work to do to build out. The plan is I would
       expect a step down in lives in fiscal 2024, given the results of the selling season
       combined with the loss of the client that we talked about. We’re still finalizing our
       ultimate live estimates, though. So it’d be premature for me to give you an exact
       number. I do expect the benefits we’re getting from network management to
       continue at a minimum into fiscal 2024. I think we have some opportunities outside
       our book to grow in the specialty business. But clearly, from a pure lives
       standpoint, we would expect to be down, and that’s what drove the goodwill
       impairment that we took.

                                              ***

       The goodwill impairment for Elixir is really driven by a triggering event from a
       change in our estimate of lives for next year. And we’ve been open about the fact
       that we expect lives to go down. And so that is what drove the impairment on the
       goodwill for Elixir.

       40.    On this news, Rite Aid’s stock price fell $1.97 per share, or 28.02%, to close at

$5.06 per share on September 29, 2022.

       41.    As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.




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                       PLAINTIFF’S CLASS ACTION ALLEGATIONS

        42.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or otherwise

acquired Rite Aid securities during the Class Period (the “Class”); and were damaged upon the

revelation of the alleged corrective disclosures. Excluded from the Class are Defendants herein,

the officers and directors of the Company, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

        43.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Rite Aid securities were actively traded on the NYSE.

While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

thousands of members in the proposed Class. Record owners and other members of the Class may

be identified from records maintained by Rite Aid or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily used in

securities class actions.

        44.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

        45.     Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.




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       46.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  whether the federal securities laws were violated by Defendants’ acts as alleged
                   herein;

                  whether statements made by Defendants to the investing public during the Class
                   Period misrepresented material facts about the business, operations and
                   management of Rite Aid;

                  whether the Individual Defendants caused Rite Aid to issue false and misleading
                   financial statements during the Class Period;

                  whether Defendants acted knowingly or recklessly in issuing false and misleading
                   financial statements;

                  whether the prices of Rite Aid securities during the Class Period were artificially
                   inflated because of the Defendants’ conduct complained of herein; and

                  whether the members of the Class have sustained damages and, if so, what is the
                   proper measure of damages.

       47.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation make it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

       48.       Plaintiff will rely, in part, upon the presumption of reliance established by the fraud-

on-the-market doctrine in that:

                  Defendants made public misrepresentations or failed to disclose material facts
                   during the Class Period;

                  the omissions and misrepresentations were material;

                  Rite Aid securities are traded in an efficient market;


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                   the Company’s shares were liquid and traded with moderate to heavy volume
                    during the Class Period;

                   the Company traded on the NYSE and was covered by multiple analysts;

                   the misrepresentations and omissions alleged would tend to induce a reasonable
                    investor to misjudge the value of the Company’s securities; and

                   Plaintiff and members of the Class purchased, acquired and/or sold Rite Aid
                    securities between the time the Defendants failed to disclose or misrepresented
                    material facts and the time the true facts were disclosed, without knowledge of
                    the omitted or misrepresented facts.

        49.       Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        50.       Alternatively, Plaintiff and the members of the Class are entitled to the presumption

of reliance established by the Supreme Court in Affiliated Ute Citizens of the State of Utah v.

United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information, as detailed above.

                                               COUNT I

 (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants)

        51.       Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        52.       This Count is asserted against Defendants and is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        53.       During the Class Period, Defendants engaged in a plan, scheme, conspiracy and

course of conduct, pursuant to which they knowingly or recklessly engaged in acts, transactions,

practices and courses of business which operated as a fraud and deceit upon Plaintiff and the other

members of the Class; made various untrue statements of material facts and omitted to state

material facts necessary in order to make the statements made, in light of the circumstances under

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which they were made, not misleading; and employed devices, schemes and artifices to defraud in

connection with the purchase and sale of securities. Such scheme was intended to, and, throughout

the Class Period, did: (i) deceive the investing public, including Plaintiff and other Class members,

as alleged herein; (ii) artificially inflate and maintain the market price of Rite Aid securities; and

(iii) cause Plaintiff and other members of the Class to purchase or otherwise acquire Rite Aid

securities and options at artificially inflated prices. In furtherance of this unlawful scheme, plan

and course of conduct, Defendants, and each of them, took the actions set forth herein.

       54.     Pursuant to the above plan, scheme, conspiracy and course of conduct, each of the

Defendants participated directly or indirectly in the preparation and/or issuance of the quarterly

and annual reports, SEC filings, press releases and other statements and documents described

above, including statements made to securities analysts and the media that were designed to

influence the market for Rite Aid securities. Such reports, filings, releases and statements were

materially false and misleading in that they failed to disclose material adverse information and

misrepresented the truth about Rite Aid’s finances and business prospects.

       55.       By virtue of their positions at Rite Aid, Defendants had actual knowledge of the

materially false and misleading statements and material omissions alleged herein and intended

thereby to deceive Plaintiff and the other members of the Class, or, in the alternative, Defendants

acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose

such facts as would reveal the materially false and misleading nature of the statements made,

although such facts were readily available to Defendants. Said acts and omissions of Defendants

were committed willfully or with reckless disregard for the truth. In addition, each Defendant

knew or recklessly disregarded that material facts were being misrepresented or omitted as

described above.



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        56.     Information showing that Defendants acted knowingly or with reckless disregard

for the truth is peculiarly within Defendants’ knowledge and control. As the senior managers

and/or directors of Rite Aid, the Individual Defendants had knowledge of the details of Rite Aid’s

internal affairs.

        57.     The Individual Defendants are liable both directly and indirectly for the wrongs

complained of herein.      Because of their positions of control and authority, the Individual

Defendants were able to and did, directly or indirectly, control the content of the statements of Rite

Aid. As officers and/or directors of a publicly-held company, the Individual Defendants had a

duty to disseminate timely, accurate, and truthful information with respect to Rite Aid’s

businesses, operations, future financial condition and future prospects.           As a result of the

dissemination of the aforementioned false and misleading reports, releases and public statements,

the market price of Rite Aid securities was artificially inflated throughout the Class Period. In

ignorance of the adverse facts concerning Rite Aid’s business and financial condition which were

concealed by Defendants, Plaintiff and the other members of the Class purchased or otherwise

acquired Rite Aid securities at artificially inflated prices and relied upon the price of the securities,

the integrity of the market for the securities and/or upon statements disseminated by Defendants,

and were damaged thereby.

        58.     During the Class Period, Rite Aid securities were traded on an active and efficient

market. Plaintiff and the other members of the Class, relying on the materially false and misleading

statements described herein, which the Defendants made, issued or caused to be disseminated, or

relying upon the integrity of the market, purchased or otherwise acquired shares of Rite Aid

securities at prices artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the

other members of the Class known the truth, they would not have purchased or otherwise acquired



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said securities, or would not have purchased or otherwise acquired them at the inflated prices that

were paid. At the time of the purchases and/or acquisitions by Plaintiff and the Class, the true

value of Rite Aid securities was substantially lower than the prices paid by Plaintiff and the other

members of the Class. The market price of Rite Aid securities declined sharply upon public

disclosure of the facts alleged herein to the injury of Plaintiff and Class members.

          59.   By reason of the conduct alleged herein, Defendants knowingly or recklessly,

directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule 10b-5

promulgated thereunder.

          60.   As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases,

acquisitions and sales of the Company’s securities during the Class Period, upon the disclosure

that the Company had been disseminating misrepresented financial statements to the investing

public.

                                            COUNT II

    (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)

          61.   Plaintiff repeats and re-alleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

          62.   During the Class Period, the Individual Defendants participated in the operation

and management of Rite Aid, and conducted and participated, directly and indirectly, in the

conduct of Rite Aid’s business affairs. Because of their senior positions, they knew the adverse

non-public information about Rite Aid’s misstatement of income and expenses and false financial

statements.




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       63.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Rite Aid’s

financial condition and results of operations, and to correct promptly any public statements issued

by Rite Aid which had become materially false or misleading.

       64.     Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings which Rite Aid disseminated in the marketplace during the Class Period concerning

Rite Aid’s results of operations. Throughout the Class Period, the Individual Defendants exercised

their power and authority to cause Rite Aid to engage in the wrongful acts complained of herein.

The Individual Defendants, therefore, were “controlling persons” of Rite Aid within the meaning

of Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful conduct

alleged which artificially inflated the market price of Rite Aid securities.

       65.     Each of the Individual Defendants, therefore, acted as a controlling person of Rite

Aid. By reason of their senior management positions and/or being directors of Rite Aid, each of

the Individual Defendants had the power to direct the actions of, and exercised the same to cause,

Rite Aid to engage in the unlawful acts and conduct complained of herein. Each of the Individual

Defendants exercised control over the general operations of Rite Aid and possessed the power to

control the specific activities which comprise the primary violations about which Plaintiff and the

other members of the Class complain.

       66.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Rite Aid.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendants as follows:



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       A.      Determining that the instant action may be maintained as a class action under Rule

23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the Class representative;

       B.      Requiring Defendants to pay damages sustained by Plaintiff and the Class by reason

of the acts and transactions alleged herein;

       C.      Awarding Plaintiff and the other members of the Class prejudgment and post-

judgment interest, as well as their reasonable attorneys’ fees, expert fees and other costs; and

       D.      Awarding such other and further relief as this Court may deem just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.

Dated: October 19, 2022                                 Respectfully submitted,

                                                        THE ROSEN LAW FIRM, P.A.

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